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                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
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        HELINDA RUELAS,                     )               CV F 06-125 AWI DLB
11                                          )
                          Plaintiffs,       )               ORDER REMANDING CASE
12             v.                           )               TO TULARE COUNTY
                                            )               SUPERIOR COURT, DENYING
13      EAGLE MOUNTAIN CASINO, EAGLE )                      AS MOOT DEFENDANTS’S
        MOUNTAIN CASINO CORP., JOSE         )               MOTION TO DISMISS, and
14      VILLALOBOS, and DOES 1 through      )               VACATING HEARING OF
        100, inclusive,                     )               MARCH 20, 2006
15                                          )
                                            )
16                        Defendants.       )
        ____________________________________)
17
18
19          On February 5, 2006, Defendants removed this case from the Superior Court of Tulare
20   County on the basis of a 28 U.S.C. § 1441(b). On February 10, 2006, Defendants moved for
21   dismissal with prejudice on the basis of tribal immunity. It is unnecessary to reach Defendants’s
22   motion because the court has determined that it lacks subject matter jurisdiction over this case.
23   Accordingly, the Court will remand this case back to the Superior Court of Tulare County.
24                                      NOTICE OF REMOVAL
25          Defendants’s notice of removal states that this Court has original jurisdiction under 28
26   U.S.C. § 1331 and that removal is appropriate under 28 U.S.C. § 1441(b) because the case
27   involves an issue of federal law as to the sovereign immunity of a federally recognized Indian
28   Tribe and its agents, council and employees acting within the scope of their authority.
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 1   Defendants cite Kiowa Tribe of Oklahoma v. Manufacturing Technologies, Inc., 523 U.S. 751,
 2   754 (1998) for the proposition that, as a matter of federal law, tribes are subject to suit only
 3   where Congress authorizes the suit or the tribe has waived immunity. Defendants allege in the
 4   notice of removal that Eagle Mountain Casino and Eagle Mountain Casino Corp. are not separate
 5   entities and that Eagle Mountain Casino is simply the name under which the Tule River Tribal
 6   Council does business. The notice of removal also attaches copies of the summonses, the
 7   complaint, and the first amended complaint.
 8                                        PLAINTIFF’S COMPLAINT
 9            In her original and first amended complaints, Plaintiff alleges only two causes of action:
10   (1) sexual harassment, retaliation, and discrimination in violation of California Government
11   Code § 12940, i.e. the California Fair Employment and Housing Act (“FEHA”); and (2)
12   retaliation and wrongful termination in violation of the public policy embodied in FEHA.1
13                                             LEGAL STANDARD
14            28 U.S.C. § 1441(b) reads in relevant part: “Any civil action of which the district courts
15   have original jurisdiction founded on a claim or right arising under the Constitution, treaties or
16   laws of the United States shall be removable without regard to the citizenship or residence of the
17   parties.” “The burden of establishing federal jurisdiction is on the party seeking removal, and the
18   removal statute is strictly construed against removal jurisdiction.” Prize Frize Inc. v. Matrix Inc.,
19   167 F.3d 1261, 1265 (9th Cir. 1999); Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195 (9th
20   Cir. 1988). If there is any doubt as to the right of removal in the first instance, “federal
21   jurisdiction must be rejected.” Duncan v. Stuetzle, 76 F.3d 1480, 1485 (9th Cir. 1996); Gaus v.
22   Miles, Inc., 980 F. 2d 564, 566 (9th Cir. 1992).
23            “The presence or absence of federal question jurisdiction is governed by the ‘well-
24   pleaded complaint rule,’ which provides that federal jurisdiction exists only when a federal
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              1
26             FEH A may serve as the policy basis for the California common law tort cause of action of wrongful
     termination in violation of pub lic policy. Diaz v. Federal Express Corp., 373 F.Sup p.2d 103 4, 10 65 (C.D . Cal.
27   2005).

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 1   question is presented on the face of the plaintiff’s properly pleaded complaint.” California v.
 2   United States, 215 F.3d 1005, 1014 (9th Cir. 2000); see California ex. rel. Lockyer v. Dynegy,
 3   Inc., 375 F.3d 831, 838 (9th Cir. 2004); Duncan, 76 F.3d at 1485. Under the “well-pleaded
 4   complaint” rule, courts look to what “necessarily appears in the plaintiff’s statement of his own
 5   claim in the bill or declaration, unaided by anything in anticipation of avoidance of defenses
 6   which it is thought the defendant may interpose.” California, 215 U.S. at 1014. “A defense is
 7   not part of a plaintiff’s pleaded statement of his or her own claim.” Dynegy, 375 F.3d at 838.
 8   Accordingly, “a case may not be removed on the basis of a federal defense . . . even if the defense
 9   is anticipated in the plaintiff’s complaint and both parties concede that the federal defense is the
10   only question truly at issue.” Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987); Wayne v.
11   DHL Worldwide Express, 294 F.3d 1179, 1183 (9th Cir. 2002). “In addition, the plaintiff is the
12   ‘master’ of her case, and if she can maintain her claims on both state and federal grounds, she
13   may ignore the federal question, assert only state claims, and defeat removal.” Duncan, 76 F.3d
14   at 1485. However, the “artful pleading doctrine is a corollary to the well-pleaded complaint rule,
15   and provides that although the plaintiff is the master of his own pleadings, he may not avoid
16   federal jurisdiction by omitting form the complaint allegations of federal law that are essential to
17   the establishment of his claim.” Lippitt v. Raymond James Fin. Serv., 340 F.3d 1033, 1041 (9th
18   Cir. 2003).
19          “If at any time prior to judgment it appears that the district court lacks subject matter
20   jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c). A district court has “a duty to
21   establish subject matter jurisdiction over the removed action sua sponte, whether the parties
22   raised the issue or not.” United Investors Life Ins. Co. v. Waddell & Reed, Inc., 360 F.3d 960,
23   967 (9th Cir. 2004). “Thus, the court can, in fact must, dismiss a case when it determines that it
24   lacks subject matter jurisdiction, whether or not a party has a filed a motion.” Page v. City of
25   Southfield, 45 F.3d 128, 133 (6th Cir. 1995). In other words, a district court may remand a
26   removed case sua sponte if it determines that it lacks subject matter jurisdiction over the case.
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 1   See Parker v. Ho Sports Co., 2005 U.S. Dist. LEXIS 37289 at *1 (E.D. Cal. 2005); Knutson v.
 2   Allis-Chalmers Corp., 358 F. Supp. 2d 983, 990 (D. Nev. 2005); Tortola Restaurants, L.P. v.
 3   Kimberly-Clark Corp., 987 F. Supp. 1186, 1188 (N.D. Cal. 1997); cf. Kelton Arms Condo.
 4   Homeowners Ass’n v. Homestead Ins. Co., 346 F.3d 1190, 1192-93 (9th Cir. 2003) (holding that
 5   a court may not sua sponte remand for procedural defects in removal but noting a distinction
 6   between procedural and jurisdictional defects and that a “district court must remand if it lacks
 7   jurisdiction”).
 8                                          DISCUSSION
 9           Here, the only basis for jurisdiction identified in the notice of removal is the presence of a
10   federal question. A review of the complaints, however, shows that Plaintiff is alleging only two
11   causes of action and those causes of action are pursuant to California statutory and common law.
12   There is no federal cause of action alleged. The complaints show that Plaintiff is relying
13   exclusively on California law and no federal question is apparent from the complaints.
14           However, Defendants further identify that a federal issue is present because of the
15   question of the Defendant’s tribal immunity. It is true that, “Suits against Indian tribes are ...
16   barred by sovereign immunity absent a clear waiver by the tribe or congressional abrogation.”
17   Oklahoma Tax Comm’n v. Citizen Band Potawatomi Indian Tribe, 498 U.S. 505, 509 (1991);
18   Snow v. Quinault Indian Nation, 709 F.2d 1319, 1321 (9th Cir. 1983). This immunity applies in
19   both federal and state courts. See Santa Clara Pueblo v. Martinez, 436 U.S. 49, 58 (1978);
20   Puyallup Tribe, Inc. v. Department of Game of Washington, 433 U.S. 165, 171-73 (1977); Snow,
21   709 F.2d at 1321; United States v. Oregon, 657 F.2d 1009, 1012-13 (9th Cir. 1981).
22   Nevertheless, the Supreme Court has specifically held that the defense of tribal immunity does
23   not itself present a federal question sufficient to overcome the well-pleaded complaint rule.
24   Oklahoma Tax Comm’n v. Graham, 489 U.S. 838, 840-42 (1989); Wiener v. Wampanoag
25   Aquinnah Shellfish Hatchery Corp., 223 F. Supp.2d 346, 350 (D. Mass. 2002); see also Ninigret
26   Dev. Corp. v. Narragansett Indian Wetuomuck Hous. Auth., 207 F.3d 21, 28 (1st Cir. 2000).
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 1   “Tribal immunity may provide a federal defense . . . But it has long been settled that the
 2   existence of federal immunity to the claims asserted does not convert a suit otherwise arising
 3   under state law into one which, in the statutory sense, arises under federal law.” Graham, 489
 4   U.S. at 841; Wiener, 223 F.Supp.2d at 350. Further, federal question jurisdiction will not arise
 5   merely because “one of the parties to a dispute is an Indian tribe.” Morongo Band of Mission
 6   Indians v. Rose, 893 F.2d 1074, 1077 (9th Cir. 1990). That Defendants may have a valid defense
 7   of tribal sovereign immunity will not convert Plaintiff’s well-pleaded California law claims into
 8   federal questions. Graham, 489 U.S. at 840-42; Caterpillar, 482 U.S. at 392.
 9          Because the defense of tribal sovereign immunity is insufficient to create federal question
10   jurisdiction, and because no federal question appears within Plaintiff’s first amended complaint
11   (or original complaint), Defendants’s notice of removal does not show that removal was
12   appropriate as the papers do not show that this Court has jurisdiction over this matter. Thus, this
13   Court must sua sponte remand this case to the Tulare County Superior Court since this Court
14   lacks subject matter jurisdiction. 28 U.S.C. § 1447(c); Waddell & Reed, 360 F.3d at 967; Parker,
15   2005 U.S. Dist. LEXIS 37289 at *1; Knutson, 358 F. Supp.2d at 990.
16
17          Accordingly, IT IS HEREBY ORDERED that:
18          1.      This case is REMANDED to the Tulare County Superior Court;
19          2.      Defendants’s Motion to Dismiss is DENIED as moot; and
20          3.      The March 20, 2006, hearing on the Motion to Dismiss is VACATED.
21
22   IT IS SO ORDERED.
23   Dated:      March 1, 2006                          /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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